  Case 20-10638-MEH           Doc 30    Filed 01/09/25 Entered 01/09/25 14:35:21            Desc Main
                                     UNITED STATESPage
                                       Document          1 of 2
                                                     BANKRUPTCY  COURT
                                            DISTRICT OF NEW JERSEY

                                                               Case No.:      20-10638 / MEH
   In Re:    Jo-Anne Young
                                                               Chapter:       13
                                                               Judge:         Hall
Notice of Final Cure Payment - Pursuant to F.R.B.P. 3002.1 (f)
Part 1: Claim Information
a. Name of holder (or servicer) of claim secured by a security interest in the debtor's principal
residence: MIDFIRST BANK




b. Proof of Claim Number on Court's Registry:                7-2
c. Trustee's Claim Number (if any):                          8
Part 2: Trustee Certification
I, Albert Russo, the chapter 13 trustee, hereby certify that all payments required to be paid through the
Chapter 13 Plan for the benefit of the secured creditor named above , including pre-petition arrears and
all other amounts due to be paid to the secured creditor through the Chapter 13 Plan which arose
post-petition pursuant to Order or Modified Plan, have been paid in full to the secured creditor. I further
certify that on January 09, 2025 a copy of this notice was served on the debtor(s), debtor's attorney (if
any) and the secured creditor at the address noted below.
Part 3: Signature
    /s/ Albert Russo                                         Date: January 09, 2025
Albert Russo, Standing Chapter 13 Trustee
Part 4: Service
Notice Mailed to:

Debtor(s):
   Jo-Anne Young
   33 Tidewater Lane
   Willingboro, NJ 08046


Debtor(s)' Counsel:
   Robert Braverman, Esq. served via CM/ECF




Creditor (or Creditor's Counsel):
   MIDFIRST BANK
   999 NORTHWEST GRAND BLVD.
   OKLAHOMA CITY, OK 73118


    This Notice of Final Cure Payment informs the holder of the claim of its obligation to file
    and serve a Response pursuant to F.R.P.B. 3002.1 (g). See instructions at paragraph (1).
  Case 20-10638-MEH          Doc 30    Filed 01/09/25 Entered 01/09/25 14:35:21            Desc Main
                                       Document Page 2 of 2
Part 5: Instructions
1. Response to Notice of Final Cure Payment. Within 21 days after service of the Notice of Final
Cure Payment, the holder of a claim secured by a security interest in the debtor’s principal residence
shall file and serve on the debtor, debtor’s counsel and trustee, Local Form, Statement In Response to
Notice of Final Cure Payment, indicating whether (1) it agrees that the debtor has paid in full the
amount required to cure the default, and (2) the debtor is otherwise current on all payments consistent
with § 1322(b)(5) of the Code. The Statement shall itemize any required cure or post-petition amounts,
if any, that the holder contends remain unpaid as of the date of the statement .

2. Determination of Final Cure and Payment. On motion of the debtor or trustee filed within 21 days
after service of the Statement given pursuant to paragraph (1) above, the court shall, after notice and
hearing, determine whether the debtor has cured the default and paid all required pre and post -petition
amounts.

3. Order Deeming Mortgage Current. If the holder of a claim fails to respond to the Notice of Final
Cure Payment, the debtor may submit a proposed order deeming the mortgage current. The proposed
order shall be served on the holder of the secured claim and the trustee . All parties served with such an
order shall have 7 days to file and serve an objection. A hearing may be conducted on the objection at
the Court’s discretion.

4. Failure to Notify. In addition to the relief accorded pursuant to paragraph (3) above, if the holder of a
claim fails to provide information required by paragraph (1) above, the court may, after notice and
hearing, take either or both of the following actions:

   i. preclude the holder from presenting the omitted information, in any form, as evidence in any
contested matter or adversary proceeding in the case, unless the court determines that the failure was
substantially justified or is harmless; or

     ii. award other appropriate relief including reasonable expenses and attorney’s fees caused by the
failure.
